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   12 d/b/a Fresenius Medical Care North America
   13
   14                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   15                               SOUTHERN DIVISION
   16
      FRESENIUS MEDICAL CARE                    No. 8:19-cv-02130 DOC (ADSx)
   17 ORANGE     COUNTY,     LLC;   et al.,
                                                NOTICE OF APPEAL
   18                     Plaintiffs.
                                                Judge David O. Carter
   19 v.
                                                Date:           n/a
   20 ROB BONTA, in his official capacity as Time:              n/a
      Attorney General; et al.,                 Trial Date:     n/a
   21
                      Defendants.
   22
      JANE DOE, et al.,                         No. 8:19-cv-02105 DOC (ADSx)
   23
                           Plaintiffs.          NOTICE OF APPEAL
   24
             v.                                 Judge David O. Carter
   25
      ROB BONTA, in his official capacity as Date:              n/a
   26 Attorney General; et al.,                 Time:           n/a
                                                Trial Date:     n/a
   27                   Defendants.
   28

         No. 8:19-cv-02105 DOC (ADSx)                                  NOTICE OF APPEAL
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    1         Plaintiffs Fresenius Medical Care Orange County, LLC; DaVita Inc.;
    2 Fresenius Medical Care Holdings, Inc., doing business as Fresenius Medical Care
    3 North America; and U.S. Renal Care, Inc., file this notice of appeal to the United
    4 States Court of Appeals for the Ninth Circuit from the final judgment entered on
    5 May 10, 2024 (ECF No. 219), and from any and all other judgments, orders,
    6 opinions, decisions, rulings, and findings, whether oral or written, that are
    7 subsidiary thereto, subsumed therein, or merged thereinto, including the Court’s
    8 January 9, 2024 order (ECF No. 207) granting in part and denying in part
    9 Plaintiffs’ motion for summary judgment, and granting in part and denying in part
   10 Defendants’ motion for summary judgment.
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Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 3 of 11 Page ID #:6935




    1    Dated:        June 7, 2024              Respectfully submitted,

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         No. 8:19-cv-02105 DOC (ADSx)          -2-                         NOTICE OF APPEAL
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Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 5 of 11 Page ID #:6937




    1                             ATTORNEY ATTESTATION
    2         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
    3 signatories listed, and on whose behalf this filing is submitted, concur in the
    4 filing’s content and have authorized the filing.
    5    Dated: June 7, 2024                             /s/ Kelly P. Dunbar
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Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 6 of 11 Page ID #:6938




    1                          REPRESENTATION STATEMENT
    2         The undersigned represent Plaintiffs Fresenius Medical Care Orange
    3 County, LLC; DaVita Inc.; Fresenius Medical Care Holdings, Inc., doing business
    4 as Fresenius Medical Care North America; and U.S. Renal Care, Inc. Pursuant to
    5 Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rule 3-2(b),
    6 Plaintiffs-Appellants submit this Representation Statement. The following list
    7 identifies all parties to the action and it identifies their respective counsel by name,
    8 firm, address, telephone number, and email, where appropriate.
    9
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         No. 8:19-cv-02105 DOC (ADSx)            -1-                         NOTICE OF APPEAL
Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 7 of 11 Page ID #:6939




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         No. 8:19-cv-02105 DOC (ADSx)       -2-                     NOTICE OF APPEAL
Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 8 of 11 Page ID #:6940



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         No. 8:19-cv-02105 DOC (ADSx)           -3-                        NOTICE OF APPEAL
Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 9 of 11 Page ID #:6941




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         No. 8:19-cv-02105 DOC (ADSx)         -4-                      NOTICE OF APPEAL
Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 10 of 11 Page ID
                                 #:6942


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      No. 8:19-cv-02105 DOC (ADSx)         -5-                   NOTICE OF APPEAL
Case 8:19-cv-02105-DOC-ADS Document 220 Filed 06/07/24 Page 11 of 11 Page ID
                                 #:6943



  1                             ATTORNEY ATTESTATION
  2         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
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  4 filing’s content and have authorized the filing.
  5   Dated: June 7, 2024                              /s/ Kelly P. Dunbar
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      No. 8:19-cv-02105 DOC (ADSx)              -6-                           NOTICE OF APPEAL
